Case 1:18-cv-01195-MN-SRF Document  47THEFiled
                             OFFICE OF    CLERK08/07/18 Page 1 of 2 PageID #: 652
                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF DELAWARE
       John A. Cerino                                                                        Unit 18
          CLERK                                                                        844 KING STREET
                                                                                      U.S. COURTHOUSE
                                                                                 WILMINGTON, DELAWARE 19801
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                                             August 7, 2018



TO:     Amber Rose Long, Esq.                           William D. Sanders, Esq.
        Joseph J. Mandia, Esq.                          McGivney, Kluger & Cook, P.C.
        Levy Konigsberg, LLP                            18 Columbia Turnpike, 3rd Floor
        800 Third Avenue, 11th Floor                    Florham Park, NJ 07932
        New York, NY 10022



        RE:        DE Case CA 18-1195-UNA
                   NJ Case CA 17-10648-RMB-KMW
                   Thomas-Fish v. Avborne Accessory Group, Inc., et al.,



Dear Counsel:

        The above referenced action was transferred to the U.S. District Court on August 7, 2018.

        Pursuant to Local Rule 83.5 (Local Rules of Civil Practice and Procedure of the United States
District Court for the District of Delaware, effective August 1, 2016) it is required that all parties
associate themselves with local counsel. Local Rule 83.5 (d) and (e) read as follows:

                (d) Association with Delaware Counsel required. Unless otherwise ordered, an
        attorney not admitted to practice by the Supreme Court of the State of Delaware may not be
        admitted pro hac vice in this Court unless associated with an attorney who is a member of
        the Bar of this Court and who maintains an office in the District of Delaware for the regular
        transaction of business (“Delaware counsel”). Consistent with CM/ECF Procedures,
        Delaware counsel shall be the registered users of CM/ECF and shall be required to file all
        papers. Unless otherwise ordered, Delaware counsel shall attend proceedings before the
        Court.

               (e) Time to Obtain Delaware Counsel. A party not appearing pro se shall obtain
        representation by a member of the Bar of this Court or have its counsel associate with a
        member of the Bar of this Court in accordance with D.Del. LR 83.5(d) within 30 days after:

                         (1) The filing of the first paper filed on its behalf; or

                         (2) The filing of a case transferred or removed to this Court.

                         Failure to timely obtain representation shall subject the defaulting party to
                         appropriate sanctions under D.Del. LR 1.3(a).


        Please have your local counsel enter an appearance on or before September 6, 2018.
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                                    Sincerely,

                                    John A. Cerino
By: /s/ N. Fasano                   Clerk of Court
         Deputy Clerk
